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                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA


In re                                                    :   Chapter   13

                                                         :
Reginald James Brown
                                                         :

                               Debtor                    :   Bankruptcy No. 18-10103


                                                     ORDER


                         AND NOW, it is ORDERED that since the debtor(s) have failed to

timely file the documents required by the order dated January 9, 2018, this case

is hereby DISMISSED.




Date: January 28, 2018
                                                             ERIC L. FRANK
                                                             Chief United States Bankruptcy Judge



Missing Documents:
                                        Matrix List of Creditors




bfmisdoc elf (1/22/15)
